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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Carrie Domzal                                                          Civil Action No: ____________
                                          Plaintiff,
                                                                                  COMPLAINT


       -v.-
FedChex Recovery, LLC

                                       Defendant.

Plaintiff Carrie Domzal ("Plaintiff" or "Domzal") by and through her attorneys, RC Law Group,

PLLC, as and for her Complaint against Defendant FedChex Recovery, LLC ("Defendant")

respectfully sets forth, complains and alleges, upon information and belief, the following:



                       INTRODUCTION/PRELIMINARY STATEMENT

       1.       Plaintiff brings this action for damages and declaratory and injunctive relief arising

   from the Defendant's violation(s) of section 1692 et. seq. of Title 15 of the United States Code,

   commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”).



                                             PARTIES

       2.       Plaintiff is a resident of the State of Illinois, County of Will, residing at 19839 S

   Schoolhouse Road, Mokena, IL 60448.

       3.       FedChex Recovery, LLC is a "debt collector" as the phrase is defined in 15 U.S.C.

   § 1692(a)(6) and used in the FDCPA with an address at P.O.Box 18978, Irvine, CA 92623.




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                               JURISDICTION AND VENUE

    4.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as

15 U.S.C. § 1692 et. seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendant

jurisdiction over the State law claims in this action pursuant to 28 U.S.C. § 1367(a).

    5.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).



                                FACTUAL ALLEGATIONS

    6.       Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein with the same force and effect as if the same were set forth at length

herein.

    7.       On information and belief, on a date better known to Defendant, Defendant began

collection activities on an alleged consumer debt (“Alleged Debt”) from the Plaintiff.

    8.       The Alleged Debt was incurred as a financial obligation that was primarily for

personal, family or household purposes and is therefore a “debt” as that term is defined by 15

U.S.C. § 1692a(5).

    9.       On or around August 28, 2015 Defendant sent an initial contact notice to the

Plaintiff.

    10.      When a debt collector solicits payment from a consumer, it must, within five days

of an initial communication

    (1) the amount of the debt;

    (2) the name of the creditor to whom the debt is owed;
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    (3) a statement that unless the consumer, within thirty days after receipt of the notice,

    disputes the validity of the debt, or any portion thereof, the debt will be assumed to be

    valid by the debt collector;

    (4) a statement that if the consumer notifies the debt collector in writing within the thirty-

    day period that the debt, or any portion thereof, is disputed, the debt collector will obtain

    verification of the debt or a copy of the judgment against the consumer and a copy of such

    verification or judgment will be mailed to the consumer by the debt collector; and

    (5) a statement that, upon the consumer's written request within the thirty-day period, the

    debt collector will provide the consumer with the name and address of the original creditor,

    if different from the current creditor. 15 U.S.C. § 1692g(a).

    11.     The FDCPA further provides that ''if the consumer notifies the debt collector in

writing within the thirty day period . . . that the debt, or any portion thereof, is disputed . . . the

debt collector shall cease collection . . . until the debt collector obtains verification of the

debt . . . and a copy of such verification is mailed to the consumer by the debt collector.'' 15

U.S.C. § 1692g(b).

    12.     Although a collection letter may track the statutory language, ''the collector

nevertheless violates the Act if it conveys that information in a confusing or contradictory

fashion so as to cloud the required message with uncertainty.'' Russell v. EQUIFAX A.R.S., 74

F.3d 30, 35 (2d Cir. 1996) (''It is not enough for a debt collection agency to simply include the

proper debt validation notice in a mailing to a consumer-- Congress intended that such notice

be clearly conveyed.''). Put differently, a notice containing ''language that 'overshadows or

contradicts' other language informing a consumer of her rights . . . violates the Act.'' Russell,

74 F.3d at 34.
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   13.     The letter, in the third paragraph, states: ''If we do not receive a payment or reply

within 30 days your account may be sent to our attorney for further collection effort.''

   14.     This language completely overshadows the ''g-notice'' and coerces the consumer not

to exert her rights under the Fair Debt Collection Practices Act.

   15.     Each and every aspect of this language threatens the consumer's validations rights

and coerces payment from the consumer by making threats during the initial thirty-day period.

   16.     As a result of Defendant's deceptive, misleading and unfair debt collection

practices, Plaintiff has been damaged.


                               FIRST CAUSE OF ACTION
                                (Violations of the FDCPA)

   17.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein with the same force and effect as if the same were set forth at length

herein.

   18.     Defendant's debt collection efforts attempted and/or directed towards Plaintiff

violate various provisions of the FDCPA, including but not limited to 15 U.S.C. §§ 1692g,

1692e, 1692e(10), and 1692f.

   19.     As a result of the Defendant's violations of the FDCPA, Plaintiff has been damaged

and is entitled to damages in accordance with the FDCPA.
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                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiff Carrie Domzal demands judgment from Defendant FedChex Recovery,

LLC as follows:

      a)     For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1);

      b)     For statutory damages provided and pursuant to 15 U.S.C. § 1692k(a)(2)(A);

      c)     For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3);

      d)     A declaration that the Defendant’s practices violated the FDCPA; and

      e)     For any such other and further relief, as well as further costs, expenses and

             disbursements of this action as this Court may deem just and proper.


Dated: Hackensack, New Jersey
       June 22, 2016

                                                          /s/ Yaakov Saks
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